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                 1
             United States Bankruptcy Court for the:
                                                                                                                          FILED !I 1: o1 f\q')
                                        District of __ ___

             Case number (If known):    1Q9 °          1                          Chapter you are filing nr:
                                                                                  Ll Chapt
                                                                                  Ii Chapt
                                                                                  El Chapter 12
                                                                                                                                              if this is an
                                                                                                                 OC
                                                                                                                  CT        200116
                                                                                                           i.TERN DISTRICT OF CALIFORNIA mended filing


        OfficialFormiOl
        Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/15
         The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
        joint case—and In joint cases, these forms use you to ask for Information from both debtors. For example, if a form asks, "Do you own a car,"
        the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and
         Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
         same person must be Debtor I in all of the forms.
        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
        information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
        (if known). Answer every question.


             'l&       Identify Yourself

                                                 About Debtor I                                                            About Debtor 2 (Spouse Only in a Joint Case)
        i.Your full name

              Write the name that is on your
              government-issued picture
              identification (for example,
                                                       4
                                                 First name
                                                              (
                                                                                                                           First name
              your driver's license or                                 (
              passport).                         Middle name                                                               Middle name

              Bring your picture                                  C
              identification to your meeting     Last name                                                                 Last name
              with the trustee.
                                                 Suffix (Sr., Jr., II, Ill)                                                Suffix (Sr., Jr., Il, Ill)



                                                                                                                 7
       [2A       l other names you
              have used in the last 8            First name                                   /                            First name
              years

              Include your married or            Middle name                                                               Middle name


                                                 Last nam                                                                  Last name



                                                 First name                                           )                    First name


                                                 Middle name                                                               Middle name


                                                 Last name                                        7                   -    Last name




        3.    Only the last 4 digits of                                       ,
              your Social Security
                                                 XXX      -       XX   -            _L_    ..... ......               -    XXX      -    )0(   -
              number or federal                  OR                                                               -        OR
              Individual Taxpayer
              Identification number              9)0< -           XX                                                       9o< -         xx     -
              (ITIN)


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                                        Middle Neree
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                                                                     Lest Nsrrre
                                                                                   .
                                                                                                                          Case number (dkeown)_______________________________




                                                       About Debtor I                                                         About Debtor 2 (Spouse Only in a Joint Case)


              Any business names
              and Employer                                    I have not used any business names or EIN5.                     Ll     I have not used any business names or EIN5.
              Identification Numbers
              (EIN) you have used in                     1 t... 4- e ee                r,
              the last 8 years                         Business name                                                          Business name
                                                                                                (—Ca         ,.
              Include trade names and
              doing business as names
                                                       Business name                                                          Business name


                                                       4_j_ -LQ1
                                                       EIN                                                                    EIN


                                                       EIN                                                                    EIN




              Where you live                                                                                                  If Debtor 2 lives at a different address:



                                                         13 c?(             7h (                         rJ ic
                                                       Number           Street                                                Number           Street




                                                                                                                      3
                                                       City                                      Slate     ZIP Code                                                     State      ZIP Code



                                                       County                                                                 County

                                                       If your mailing address Is different from the one                      If Debtor 2's mailing address is different from
                                                       above, fill it in here. Note that the court will send                  yours, fill it in here. Note that the court will send
                                                       any notices to you at this mailing address.                            any notices to this mailing address.



                                                       Number           Street                                                Number           Street


                                                       P.O. Box                                                               P.O. Box


                                                       City                                      State    ZIP Code            City                                     State       ZIP Code




       6.    Why you are choosing                      Check one:                                                             Check one:
             this district to file for
             bankruptcy                                             the last 180 days before filing this petition,            LJ     Over the last 180 days before filing this petition,
                                                              I have lived in this district longer than in any                       I have lived in this district longer than in any
                                                              other district,                                                        other district.

                                                       Ll     I have another reason. Explain.                                 Li     I have another reason. Explain.
                                                              (See 28 U.S.C. § 1408.)                                                (See 28 U.S.C. § 1408.)




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           Debtor 1        11   4t
                          Fi,t Name
                                     eX, 130 (&I ~e ff
                                           Middle Name              Last Name
                                                                                                                     Case number (if keo)_________________________________




           M            Tell the Court About Your Bankruptcy Case



                 The chapter of the                      Check one. (For a brief description of each, see Notice Required by 11 U. S.C. § 342(b) for Individuals Filing
                 Bankruptcy Code you                     for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
                 are choosing to file
                 under
                                                         Ll   Chapter 7

                                                         U    Chapter 11

                                                         U    Chapter 12

                                                              'hapter 13


                 How you will pay the fee                E rl w ill pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                 -                          yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                            with a pre-printed address.

                                                         U    I need to pay the fee in installments. If you choose this option, sign and attach the
                                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 1 03A).

                                                         U    I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


                 Have you filed for
                 bankruptcy within the
                 last 8 years?                           U Yes. District                                   When                       Case number
                                                                                                                   MM/DDIYYYY

       =                                                            District                               When                       Case number
                                                                                                                   MM/DD/YYYY
                                                                    District                               When                       Case number
                                                                                                                   MM/DDIYYYY



                 Are any bankruptcy
                 cases pending or being
                 filed by a spouse who is                U Yes.     Debtor                                                            Relationship to you
                 not filing this case with                          District                               When                       Case number, if known____________________
                 you, orbya business                                                                               MM/DD /YYYY
                 partner, or by an
                 affiliate?
                                                                    Debtor                                                            Relationship to you

                                                                    District                               When                       Case number, if known_______________________
                                                                                                                   MM/DDIYYYY



           ii.   Do you rent your                        U    No. Go to line 12.
                 residence?                                         Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                                    residence?

                                                                    U    No. Go to line 12.
                                                                        'Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 1 01 A) and file it with
                                                                         this bankruptcy petition.



             Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 3
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        Debtor   1        41
                         Fi,t Neme
                                      co         (pt.
                                          Middle Ne,ee
                                                                     zSo
                                                                     Lau Nane
                                                                                     c                                Case number (ifknoe',,)________________________________________




                       Report About Any Businesses You Own as a Sole Proprietor


        12. Are you a sole proprietor                    LIN0.Gotopart4.
              of any full- or part-time
              business?                                            Name and location of business
              A sole proprietorship is a
              business you operate as an
                                                                     /    kc
                                                                   Name of business, if any
              individual, and is not a
              separate legal entity such as
              a corporation, partnership, or                                         3                     i(uI.             K7                                                         Qi

              LLC.                                                 Number       Street        '
              If you have more than one
              sole proprietorship, use a
                                                                    ,2Frc'
              separate sheet and attach it
              to this petition.
                                                                    City                                                      State        ZIP   Code


                                                                   Check the appropriate box to describe your business:
                                                                    J Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                   Li    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                   LI Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                   LI    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                         16he of the above


        13. Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
              Chapter.11 of the                      can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
              Bankruptcy Code and                    most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                     any of these documents do not exist, follow the procedure in 11 U.S.C. § 11 16(1)(B).
              are you a small business
              debtor?
                                                                   I am not filing under Chapter 11.
              For a definition of small
              business debtor, see                   LI       No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
              11 U.S.C. § 101(51D).                                the Bankruptcy Code.

                                                     LI       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                                   Bankruptcy Code.


                      Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


        14.   Do you own or have any
              property that poses or is
              alleged to pose a threat                   LI   Yes. What is the hazard?
              of imminent and
              identifiable hazard to
              public health or safety?
              Ordo you own any
              property that needs
                                                                    If immediate attention is needed, why is it needed?
              immediate attention?
              For example, do you own
              perishable goods, or livestock
              that must be fed, or a building
              that needs urgent repairs?
                                                                    Where is the property?
                                                                                                  Number     Street




                                                                                                  City                                           State      ZIP Code


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        Debtor 1        14(lbc
                       First Ner,re
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                                      Middle Nerne
                                                         (     c..\   ô
                                                                Lest Nerse
                                                                          z-t.     5                                   Case number (,fhnown)_______________________________




                    Explain Your Efforts to Receive a Briefing About Credit Counseling


                                                     About Debtor I                                                         About Debtor 2 (Spouse Only in a Joint Case)
        15. Tell the court whether
           you have received a
            briefing about credit                    You must check one:                                                    You must check one:
            counseling.
                                                         Ieived a briefing from an approved credit                          U   I received a briefing from an approved credit
                                                         counseling agency within the 180 days before I                         counseling agency within the 180 days before I
            The law requires that you                    filed this bankruptcy petition, and I received a                       filed this bankruptcy petition, and I received a
            receive a briefing about credit              certificate of completion.                                             certificate of completion.
            counseling before you file for
                                                         Attach a copy of the certificate and the payment                       Attach a copy of the certificate and the payment
            bankruptcy. You must
                                                         plan, if any, that you developed with the agency.                      plan, if any, that you developed with the agency.
            truthfully check one of the
            following choices. If you
            cannot do so, you are not
                                                         I received a briefing from an approved credit                      U   I received a briefing from an approved credit
                                                         counseling agency within the 180 days before I                         counseling agency within the 180 days before I
            eligible to file.
                                                         filed this bankruptcy petition, but I do not have a                    filed this bankruptcy petition, but I do not have a
                                                         certificate of completion.                                             certificate of completion.
            If you file anyway, the court
                                                         Within 14 days after you file this bankruptcy petition,                Within 14 days after you file this bankruptcy petition,
            can dismiss your case, you
                                                         you MUST file a copy of the certificate and payment                    you MUST file a copy of the certificate and payment
            will lose whatever filing fee
                                                         plan, if any.                                                          plan, if any.
       j you paid, and your creditors
            can begin collection activities              I certify that I asked for credit counseling                       U   I certify that I asked for credit counseling
            again.                                       services from an approved agency, but was                              services from an approved agency, but was
                                                         unable to obtain those services during the 7                           unable to obtain those services during the 7
                                                         days after I made my request, and exigent                              days after I made my request, and exigent
                                                         circumstances merit a 30-day temporary waiver                          circumstances merit a 30-day temporary waiver
                                                         of the requirement.                                                    of the requirement

                                                         To ask for a 30-day temporary waiver of the                            To ask for a 30-day temporary waiver of the
                                                         requirement, attach a separate sheet explaining                        requirement, attach a separate sheet explaining
                                                         what efforts you made to obtain the briefing, why                      what efforts you made to obtain the briefing, why
                                                         you were unable to obtain it before you filed for                      you were unable to obtain it before you filed for
                                                         bankruptcy, and what exigent circumstances                             bankruptcy, and what exigent circumstances
                                                         required you to file this case.                                        required you to file this case.

                                                         Your case may be dismissed if the court is                             Your case may be dismissed if the court is
                                                         dissatisfied with your reasons for not receiving a                     dissatisfied with your reasons for not receiving a
                                                         briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                                         If the court is satisfied with your reasons, you must                  If the court is satisfied with your reasons, you must
                                                         still receive a briefing within 30 days after you file.                still receive a briefing within 30 days after you file.
                                                         You must file a certificate from the approved                          You must file a certificate from the approved
                                                         agency, along with a copy of the payment plan you                      agency, along with a copy of the payment plan you
                                                         developed, if any. If you do not do so, your case                      developed, if any. If you do not do so, your case
                                                         may be dismissed.                                                      may be dismissed.
                                                         Any extension of the 30-day deadline is granted                        Any extension of the 30-day deadline is granted
                                                         only for cause and is limited to a maximum of 15                       only for cause and is limited to a maximum of 15
                                                         days.                                                                  days.

                                                     U   I am not required to receive a briefing about                      U   I am not required to receive a briefing about
                                                         credit counseling because of:                                          credit counseling because of:

                                                         U   Incapacity.         I have a mental illness or a mental            U   Incapacity.    I have a mental illness or a mental
                                                                                 deficiency that makes me                                          deficiency that makes me
                                                                                 incapable of realizing or making                                  incapable of realizing or making
                                                                                 rational decisions about finances,                                rational decisions about finances.
                                                         U   Disability.         My physical disability causes me               U   Disability.    My physical disability causes me
                                                                                 to be unable to participate in a                                  to be unable to participate in a
                                                                                 briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                                 through the internet, even after I                                through the internet, even after I
                                                                                 reasonably tried to do so.                                        reasonably tried to do so.
                                                         U   Active duty. I am currently on active military                     U   Active duty. I am currently on active military
                                                                           duty in a military combat zone.                                         duty in a military combat zone.
                                                         If you believe you are not required to receive a                       If you believe you are not required to receive a
                                                         briefing about credit counseling, you must file a                      briefing about credit counseling, you must file a
                                                         motion for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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        Debtor 1       4
                      First Name   Middle Na,,,e
                                                                     6 iruv
                                                                Last Name
                                                                                                                Case number ir




       E-;PrflFqU Answer These Questions for Reporting Purposes

                                                   1 6a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
        16. What kind of debts do
                                                          as "incurred by an individual primarily for a personal, family, or household purpose."
            you have?
                                                          U    No. Goto line 16b.
                                                          U    Yes. Go to line 17.

                                                          Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                          money for a business or investment or through the operation of the business or investment.
                                                          LI   No. Goto line 16c.
                                                                    Go to line 17.

                                                          State the type of debts you owe that are not consumer debts or business debts.



        17. Are you filing under
           Chapter 7?                              LNo. I am not filing under Chapter 7. Go to line 18.

           Do you estimate that after              U     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
           any exempt property is                             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
           excluded and                                        LI   No
           administrative expenses
           are paid that funds will be                         LI   Yes
           available for distribution
           to unsecured creditors?

           How many creditors do                                                           U    1,000-5,000                          U    25,001-50,000
           you estimate that you                   U     50-99                             LI   5,001-10,000                         U    50,001-100,000
           owe?                                    LI    100-199                           LI   10,001-25,000                        LI   More than 100,000
                                                   LI    200-999

           How much do you                              'i6$50,000                         U    $1,000,001410 million                LI   5500,000,00141 billion
           estimate your assets to                 LI     $50,001-$100,000                 U    $10,000,001-$50 million              LI   $1,000,000,001-510 billion
           be worth?                               LI     $100,0014500,000                 U    $50,000001-$100 million              LI   $10,000,000,001450 billion
                                                   LI     $500,001-S1 million              LI   5100,000,0014500 million             U    More than $50 billion

           How much do you                         LI $0-$50,000                                1$000,001-$10 million                LI   $500,000,001-$i billion
           estimate your liabilities               LI $500014100000                        LI    $10,000,001-550 million             LI   $1,000,000,001-$10 billion
           to be?                                  L! $ioo,00i-soo,000                     LI   $50,000,0014100 million              LI   $10,000,000,001-$50 billion
                                                   D :00,00141 million                     LI   $100,000,0014500 million             LI   More than $50 billion



                                                   I have examined this petition, and I declare under penalty of perjury that the information provided is true and
        For you                                    correct.
                                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                   of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                   under Chapter 7.
                                                   If no attorne                   nd I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                   this d      ent, I have obtained a       ad the notice required by 11 U.S.C. § 342(b).
                                                     equest relief in accordance with the ch ter of title 11, United States Code, specified in this petition.
                                                   I understand m          se sta ment, con ealing property, or obtaining money or property by fraud in connection
                                                   with a banVrupj y cas an r ult in fines u to $250,000, or imprisonment for up to 20 years, or both.
                                                   18 U.S.0 § 52,



                                                        Signa ur                                                       Signature of Debtor 2

                                                        Executed on         f 0  3   I0                                Executed on
                                                                            MM I D /YYYY                                             MM / DO /YYYY



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        Debtor 1                      3o rt(( co                      -                                      Case number (if kaovn)____________________________
                     First Narrre   Middle Name               Last Name




                                                  I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
        For your attorney, if you are
                                                  to proceed under Chapter 7, 11 12, or 13 of title 11, United States Code, and have explained the relief
        represented by one
                                                  available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                  the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
        If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
        by an attorney, you do not
        need to file this page.
                                                  x                                                                   Date
                                                      Signature of Attorney for Debtor                                               MM /       DD /YYYY




                                                      Printed name


                                                             name


                                                      Number Street




                                                      City                                                                           ZIP Code




                                                      Contact phone                                                  Email address




                                                      Bar number                                                     State




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        Debtor 1     4       1FOX
                     First Name
                                    0 10 C ffI& G
                                    Middle Name
                                                                3   0
                                                             Lmt Name
                                                                                                           Case number   (if




        For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
        bankruptcy without an                       should understand that many people find it extremely difficult to represent
        attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                                    consequences, you are strongly urged to hire a qualified attorney.
        If you are represented by
        an attorney, you do not                     To be successful, you must correctly file and handle your bankruptcy case. The rules are very
        need to file this page.                     technical, and a mistake or inaction may affect your rights. For example, your case may be
                                                    dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                                    hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                                    firm if your case is selected for audit. If that happens, you could lose your right to file another
                                                    case, or you may lose protections, including the benefit of the automatic stay.

                                                    You must list all your property and debts in the schedules that you are required to file with the
                                                    court. ven if yoit plan 1o.par Lp iIar          tcJde..QLuL..Pnkrl.Lptc you must list that debt
                                                    in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                                    property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                                    also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                                    case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                                    cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                                    Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                                    If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                                    hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                                    successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                                    Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                                    be familiar with any state exemption laws that apply.

                                                    Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                                    consequences?

                                                           No


                                                    Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                                    inaccurate or incomplete, you could be fined or imprisoned?
                                                           No


                                                    Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?


                                                    L1 Yes. Name of Person
                                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                                    .y signing here, I acknowled e that I u derstand the risks involved in filing without an attorney. I
                                                     have read an           cod t    .otice, nd I am aware that filing a bankruptcy case without an
                                                     attorney a c          e    lose my rig s or property if I do not properly handle the case.


                                                                                                               x
                                                     Signa                                                          Signature of Debtor 2

                                                    Date                 O. -          (b                           Date
                                                                        MM/DD /YYYY                                                  MM/ DD/YYYY

                                                    Contact phone       (ie\            - cf'7 7                    Contact phone

                                                    Celiphone           (&,ci     &a,'4— go 6         .7            Cetiphone

                                                    Email address       +b      p ,.   IccJôi'5                     Email address



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                                                                 Certificate Number: 06531 -CAN. CC-02 8267970

                                                                111111 IHIIIIIIIIII 1111111 11111 li i IllIl Il Il i 1111111111111 11111
                                                                                       0653 1-CAN-CC-028267970




                                      CERTIFICATE OF COUNSELING

                 I CERTIFY that on October 26, 2016, at 5:45 o'clock PM CDT, Alex B Jones Sr
                 received from Allen Credit and Debt Counseling Agency, an agency approved
                 pursuant to 11 U.S.C. § 111 to provide credit counseling in the Northern District
                 of California, an individual [or group] briefing that complied with the provisions
                 of 11 U.S.C. §§ 109(h) and 111.
                 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
                 copy of the debt repayment plan is attached to this certificate.
                 This counseling session was conducted by internet.




                 Date: October 26, 2016                          By:          /s/Lon A Danburg


                                                                 Name: Lori A Danburg


                                                                 Title: Credit Counselor




                 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
                 Code are required to file with the United States Bankruptcy Court a completed certificate of
                 counseling from the nonprofit budget and credit counseling agency that provided the individual
                 the counseling services and a copy of the debt repayment plan, if any, developed through the
                 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
